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                  Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

SONIA PARKER                                   §
     Plaintiff                                 §
VS.                                            §         CIVIL ACTION NO.:
                                               §         (State Cause No. 2017-08824)
MIGUEL ALVAREZ, AND SOSA                       §
ENTERPRISES CORP.                              §
     Defendants                                §

                          INDEX OF MATTERS BEING FILED


        Defendants Miguel Alvarez and Sosa Enterprises Corp.'s Notice of Removal with

supporting Exhibits:

   • Exhibit B-----State Court Docket Sheet

   • Exhibit C—Plaintiff's Original Petition

   •    Exhibit D—Defendants Miguel Alvarez and Sosa Enterprises Corp.'s Original Answers

   • Exhibit E—List of all counsel of record


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